Case 23-30944   Doc 12-2   Filed 12/21/23   Entered 12/21/23 15:14:51   Page 1 of 4




23-30944


                       AT&T Wireless
                       c/o Bankruptcy Dept.
                       Attn: Manager
                       4331 Communications Dr Fl 4W
                       Dallas, TX 75211


                       Best Buy/CBNA
                       Attn Manager, Bankruptcy Dept
                       PO Box 70601
                       Philadelphia, PA 19176-0601


                       Capital One Bank (USA), N.A.
                       Attn Manager, Bankruptcy Dept
                       PO Box 31293
                       Salt Lake City, UT 84131


                       CapitalOne Bank, NA/Kohl's
                       Attn Manager, Bankruptcy Dept
                       PO Box 3043
                       Milwaukee, WI 53201


                       City of Meriden Tax Collector
                       Attn: Michelle Kane
                       142 E Main St
                       Meriden, CT 06450-5605


                       CONNECTICUT ATTORNEY GENERAL
                       ATTN: AAG GARY G WILLIAMS
                       COLLECTIONS DEPARTMENT
                       PO BOX 120
                       HARTFORD, CT 06141


                       CT Dept. of Revenue Srvcs.
                       c/o Attorney General's Office
                       55 Elm St
                       Hartford, CT 06106-1746
Case 23-30944   Doc 12-2   Filed 12/21/23   Entered 12/21/23 15:14:51   Page 2 of 4




                       Credence Resource Management
                       Attn Manager, Bankruptcy Dept
                       17000 Dallas Pkwy Ste 20
                       Dallas, TX 75248


                       CT Dept. of Revenue Srvcs.
                       Attn Manager, Bankruptcy Dept
                       450 Columbus Blvd Ste 1
                       Hartford, CT 06103-1837


                       Eversource Energy
                       Attn: Manager, Billing Dept.
                       107 Selden St
                       Berlin, CT 06037-1616


                       HEATHER ANN O'BRIEN TRECIOKAS
                       4 Marlson Rd
                       Meriden, CT 06450-4745


                       Internal Revenue Service
                       Central Insolvency Operation
                       PO Box 7346
                       Philadelphia, PA 19101-7346


                       Jefferson Capital Systems LLC
                       Attn Manager, Bankruptcy Dept
                       PO Box 17210
                       Golden, CO 80402-6020


                       Meriden Water Division
                       Attn Richard Meskill,Director
                       117 Parker Ave
                       Meriden, CT 06450-5925


                       PRA Receivables Mgmt LLC
                       PO Box 41021
                       Norfolk, VA 23541-1021
Case 23-30944   Doc 12-2   Filed 12/21/23   Entered 12/21/23 15:14:51   Page 3 of 4




                       Rocket Mortgage, LLC
                       Attn: General Counsel
                       1050 Woodward Ave
                       Detroit, MI 48226-1906


                       RocketLoans
                       Attn Manager, Bankruptcy Dept
                       1274 Library St.
                       Detroit, MI 48226


                       Santander Consumer USA
                       Attn Manager, Bankruptcy Dept
                       PO Box 961245
                       Fort Worth, TX 76161


                       SYNCB/Amazon
                       Attn Manager, Bankruptcy Dept
                       PO Box 365015
                       Orlando, FL 32896


                       SYNCB/Lowes
                       Attn Manager, Bankruptcy Dept
                       PO Box 965005
                       Orlando, FL 32896


                       SynchronyBank (CareCredit)
                       Attn Manager, Bankruptcy Dept
                       950 Forrer Blvd
                       Dayton, OH 45420


                       TD Bank NA
                       Attn Manager, Bankruptcy Dept
                       PO Box 1448
                       Greenville, SC 29602
Case 23-30944   Doc 12-2   Filed 12/21/23   Entered 12/21/23 15:14:51   Page 4 of 4




                       TDRCS/Raymour & Flanigan
                       Attn Manager, Bankruptcy Dept
                       1000 Macarthur Blvd.
                       Mahwah, NJ 07430


                       U.S. Securities and Exchange
                       Commission
                       100 F St Ne
                       Washington, DC 20549-2000


                       United Consumer Fin. Srvcs
                       Attn Manager, Bankruptcy Dept
                       865 Bassett Rd
                       Westlake, OH 44145


                       Hartford Parking Authority
                       Attn: Jill Turlo, CEO
                       11 Asylum St. # 2
                       Hartford, CT 06103


                       New Jersey Turnpike Authority
                       Attn: Director of Tolls
                       1 Turnpike Plaza
                       Woodbridge, NJ 07095-1229


                       New Jersey Turnpike Authority
                       Attn: Director of Tolls
                       PO BOX 5042
                       Woodbridge, NJ 07095-5042
